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 6                           UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                         Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                     ORDER GRANTING MOTION TO
11                                                   DISMISS
12                                                   (ECF No. 983)
13
14         Presently before the Court is Defendants StarKist Co., Dongwon Industries, Co.,
15   Bumble Bee Foods LLC, Del Monte Corporation, Tri-Union Seafoods LLC d/b/a Chicken
16   of the Sea International Inc., and Thai Union Group PCL’s (“Defendants”) Joint Motion to
17   Dismiss, (“MTD,” ECF No. 983). Also before the Court are Plaintiff the Cherokee
18   Nation’s Opposition to, (“Opp’n,” ECF No. 1267), and Defendants’ Reply in Support of,
19   (“Reply,” ECF No. 1284), the Motion. The Court heard oral argument on July 30, 2018.
20   Having considered the parties’ arguments and the law, the Court rules as follows.
21                                      BACKGROUND
22         This case concerns an alleged conspiracy to fix the prices of packaged seafood
23   throughout the United States. Plaintiff the Cherokee Nation is a federally recognized
24   sovereign Indian nation and brings this action in its proprietary capacity and under its
25   parens patriae authority against Defendants as part of a broader multi-district litigation
26   (“MDL”) currently pending before this Court. (First Am. Compl. (“FAC”), ECF No. 823,
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 1   ¶¶ 11–12.)1 This particular aspect of the MDL concerns whether the Court has subject
 2   matter jurisdiction over Plaintiff’s claims.
 3            In 2015, various plaintiffs across the country brought civil suits concerning
 4   defendants StarKist, Chicken of the Sea, and Bumble Bee’s conduct. The several civil
 5   actions relating to this alleged conspiracy were consolidated in an MDL and the judicial
 6   panel on MDLs centralized pretrial proceedings to this Court on December 9, 2015, (see
 7   Transfer Order, ECF No. 1). The Cherokee Nation was a latecomer to this litigation and
 8   filed suit on November 16, 2017, (see No. 17-CV-2332, ECF No. 1), which was then
 9   consolidated with the MDL. Plaintiff originally requested the Court create a track solely
10   for itself, (ECF No. 751-1, at 3), but later amended its motion to request placement in the
11   indirect End Purchaser Payer (“EPP”) track, while also maintaining its own complaint,
12   (ECF No. 798-1, at 2). On February 5, 2018, Plaintiff filed a First Amended Complaint,
13   (ECF No. 823), and on February 23, 2018, the Court granted Plaintiff’s amended motion
14   and assigned Plaintiff to the EPP track, (ECF No. 859).
15            Plaintiff’s amended Complaint sets forth detailed allegations concerning alleged
16   price-fixing schemes in the packaged seafood industry, which has resulted in a Department
17   of Justice investigation into Defendants’ activities and guilty pleas by several packaged
18   seafood executives. (FAC ¶¶ 213, 221–28.) Defendants are major producers of packaged
19   seafood. The complaint presents allegations of increased packaged seafood prices resulting
20   from anticompetitive behavior on the part of Defendants. (See id. ¶¶ 205, 208–10.)
21   Plaintiff’s citizens, members of the Cherokee Nation, are indirect purchasers of packaged
22   tuna. (Id. ¶ 10.) Plaintiff alleges that Defendants’ anticompetitive behavior has resulted in
23   fixed or higher prices of packaged seafood, that indirect purchasers of packaged seafood
24   have been deprived of free and open competition, and that indirect purchasers paid
25   artificially inflated prices. (Id. ¶ 229.)
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         The sealed version of The Cherokee Nation’s First Amended Complaint is located at ECF No. 825.

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 1         Plaintiff’s amended Complaint brings the following claims. First, Plaintiff asserts a
 2   cause of action under section 1 of the Sherman Act, 15 U.S.C. § 1, which is Plaintiff’s only
 3   federal cause of action. Second, Plaintiff asserts causes of action for violation of State law;
 4   specifically, California, Kansas, Arizona, Colorado, New Mexico, Oklahoma, and Florida.
 5   Third, Plaintiff brings two causes of action under Cherokee Nation law—Unfair and
 6   Deceptive Practices Act (“CNUDPA”), 12 CNCA § 21 et seq., and unjust enrichment. (See
 7   generally FAC.) Defendants have filed the present joint motion to dismiss, (ECF No. 983),
 8   challenging this Court’s jurisdiction to hear Plaintiff’s claims under Rule 12(b)(1) and
 9   asserting, in the alternative, that the amended Complaint fails to state a claim under Rule
10   12(b)(6).
11                                      LEGAL STANDARD
12   I.    Rule 12(b)(1)
13         A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) challenges
14   a court’s subject matter jurisdiction. Federal district courts are courts of limited jurisdiction
15   that “may not grant relief absent a constitutional or valid statutory grant of jurisdiction”
16   and are “presumed to lack jurisdiction in a particular case unless the contrary affirmatively
17   appears.” A–Z Int’l v. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003) (internal quotations
18   and citations omitted).     The plaintiff bears the burden of establishing jurisdiction.
19   Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377; In re Dynamic Random Access
20   Memory (DRAM) Antitrust Litig., 538 F.3d 1107, 1110 (9th Cir. 2008).
21         Rule 12(b)(1) motions may challenge jurisdiction facially or factually. Safe Air for
22   Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). “In a facial attack, the challenger
23   asserts that the allegations contained in a complaint are insufficient on their face to invoke
24   federal jurisdiction. By contrast, in a factual attack, the challenger disputes the truth of the
25   allegations that, by themselves, would otherwise invoke federal jurisdiction.” Id. To
26   adjudicate the factual challenge, the Court may review evidence beyond the complaint
27   without converting the Rule 12(b)(1) motion into one for summary judgment. Savage v.
28   Glendale Union High Sch., Dist. No. 205, Maricopa Cnty., 343 F.3d 1036, 1039 n.2 (9th

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 1   Cir. 2003); David v. Giurbino, 488 F. Supp. 2d 1048, 1054 (S.D. Cal. 2007). Once the
 2   moving party makes a factual challenge by bringing evidence before the Court, the
 3   opposing party must furnish its own affidavits or other evidence to establish subject matter
 4   jurisdiction. Safe Air, 373 F.3d at 1039; Savage, 343 F.3d at 1039 n.2. Without assuming
 5   the truth of the complaint’s factual allegations, the Court nonetheless resolves factual
 6   disputes in favor of the non-moving party. Dreier v. United States, 106 F.3d 844, 847 (9th
 7   Cir. 1996); Farrah v. Monterey Transfer & Storage, Inc., 555 F. Supp. 2d 1055, 1067-68
 8   (N.D. Cal. 2008).
 9         Alternatively, in a facial challenge, the defendant asserts the insufficiency of the
10   complaint’s allegations to invoke federal jurisdiction as a matter of law. Whisnant v.
11   United States, 400 F.3d 1177, 1179 (9th Cir. 2005); Cross v. Pac. Coast Plaza Invs., L.P.,
12   No. 6 CV 2543 JM (RBB), 2007 WL 951772, at *1 (S.D. Cal. Mar. 6, 2007). To adjudicate
13   the facial challenge, the Court assumes the truth of the allegations in the complaint and
14   draws all reasonable inferences in favor of the plaintiff. Whisnant, 400 F.3d at 1177; Wolfe
15   v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004).
16   II.   Rule 12(b)(6)
17         Federal Rule of Civil Procedure 12(b)(6) permits a party to raise by motion the
18   defense that the complaint “fail[s] to state a claim upon which relief can be granted,”
19   generally referred to as a motion to dismiss. The Court evaluates whether a complaint
20   states a cognizable legal theory and sufficient facts in light of Federal Rule of Civil
21   Procedure 8(a), which requires a “short and plain statement of the claim showing that the
22   pleader is entitled to relief.”   Although Rule 8 “does not require ‘detailed factual
23   allegations,’ . . . it [does] demand more than an unadorned, the-defendant-unlawfully-
24   harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
25   Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In other words, “a plaintiff’s obligation to
26   provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and
27   conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
28   Twombly, 550 U.S. at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). A

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 1   complaint will not suffice “if it tenders ‘naked assertion[s]’ devoid of ‘further factual
 2   enhancement.’” Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at 557).
 3          In order to survive a motion to dismiss, “a complaint must contain sufficient factual
 4   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting
 5   Twombly, 550 U.S. at 570); see also Fed. R. Civ. P. 12(b)(6). A claim is facially plausible
 6   when the facts pled “allow the court to draw the reasonable inference that the defendant is
 7   liable for the misconduct alleged.” Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at
 8   556). That is not to say that the claim must be probable, but there must be “more than a
 9   sheer possibility that a defendant has acted unlawfully.” Id. Facts “‘merely consistent
10   with’ a defendant’s liability” fall short of a plausible entitlement to relief. Id. (quoting
11   Twombly, 550 U.S. at 557). Further, the Court need not accept as true “legal conclusions”
12   contained in the complaint. Id. This review requires context-specific analysis involving
13   the Court’s “judicial experience and common sense.”              Id. at 678 (citation omitted).
14   “[W]here the well-pleaded facts do not permit the court to infer more than the mere
15   possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the
16   pleader is entitled to relief.’” Id.
17          Where a complaint does not survive 12(b)(6) analysis, the Court will grant leave to
18   amend unless it determines that no modified contention “consistent with the challenged
19   pleading . . . [will] cure the deficiency.” DeSoto v. Yellow Freight Sys., Inc., 957 F.2d
20   655, 658 (9th Cir. 1992) (quoting Schriber Distrib. Co. v. Serv-Well Furniture Co., 806
21   F.2d 1393, 1401 (9th Cir. 1986)).
22                                             ANALYSIS
23   I.     The Cherokee Nation’s Standing to Bring a Parens Patriae Action
24          Plaintiff brings its claims as parens patriae on behalf of its citizens harmed by
25   Defendants’ alleged conduct. Defendants challenge Plaintiff’s standing to bring a parens
26   patriae civil action. Article III of the Constitution vests federal courts with the authority
27   to hear “Cases” and “Controversies.” U.S. Const., art. III, § 2. “Standing to sue is a
28   doctrine rooted in the traditional understanding of a case or controversy.” Spokeo, Inc. v.

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 1   Robins, 136 S. Ct. 1540, 1547 (2016), as revised (May 24, 2016). “The doctrine limits the
 2   category of litigants empowered to maintain a lawsuit in federal court to seek redress for a
 3   legal wrong.” Id. (citations omitted). “[S]tanding jurisprudence contains two strands:
 4   Article III standing, which enforces the Constitution’s case-or-controversy requirement,
 5   and prudential standing,2 which embodies judicially self-imposed limits on the exercise of
 6   federal jurisdiction.” Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11 (2004)
 7   (citation omitted), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control
 8   Components, Inc., 572 U.S. 118 (2014).
 9          One particular aspect of the standing doctrine is parens patriae3 standing. States or
10   Indian nations asserting parens patriae standing must establish Article III standing and
11   meet the “unique requirements” of the parens patriae doctrine. Missouri ex rel. Koster v.
12   Harris, 847 F.3d 646, 651 (9th Cir. 2017) (citing Table Bluff Reservation (Wiyot Tribe) v.
13   Philip Morris, Inc., 256 F.3d 879, 885 (9th Cir. 2001)). Generally, there are two elements
14   to establish standing to bring a parens patriae claim. First, “the State must articulate an
15   interest apart from the interests of particular private parties, i.e., the State must be more
16   than a nominal party.” Id. (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel.
17   Barez, 458 U.S. 592, 607 (1982) (“Snapp”)). Second, “[t]he State must express a quasi-
18   sovereign interest.” Id. (alteration in original) (quoting Snapp, 458 U.S. at 607).
19       A. Parties’ Arguments
20          Defendants advance three arguments why Plaintiff does not have parens patriae
21   standing.4 First, the Cherokee Nation does not have a quasi-sovereign interest because the
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23   2
       Prudential standing is not derived from Article III and encompasses at least three broad principles: “the
24   general prohibition on a litigant’s raising another person’s legal rights, the rule barring adjudication of
     generalized grievances more appropriately addressed in the representative branches, and the requirement
25   that a plaintiff’s complaint fall within the zone of interests protected by the law invoked.” Lexmark Int’l,
     Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1386 (2014) (quoting Elk Grove Unified Sch.
26   Dist. v. Newdow, 542 U.S. 1, 12 (2004)).
     3
       “Parens patriae means literally ‘parent of the country.’” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex
27   rel., Barez, 458 U.S. 592, 600 (1982) (footnote omitted).
     4
28     Defendants also contend that Plaintiff fails to meet the Article III standing requirements to the extent
     that the Cherokee Nation purchased tuna in its proprietary capacity. (MTD 18–19.) Plaintiff’s Opposition

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 1   alleged price fixing at issue in this case does not have anything to do with the health, safety,
 2   or welfare of the Cherokee Nation, nor is there sufficient allegations concerning protecting
 3   the Cherokee Nation’s economy. (See MTD 15–16.)5 Second, Defendants contend that
 4   the Cherokee Nation cannot assert parens patriae claims under the law of other states
 5   because it cannot bring claims under those states’ laws. (See id. at 17.) Third, the Cherokee
 6   Nation has not alleged injury to a substantial segment of their population. (See id. at 17–
 7   18.)
 8          Plaintiff contends that it does not need to meet the two requirements—interest apart
 9   from private parties and quasi-sovereign interest—for parens patriae standing. (Opp’n
10   17.) Instead, Plaintiff argues that the Cherokee Constitution and Cherokee Code creates
11   the requisite parens patriae standing. (Id. (citing 51 CNCA § 105.B.14 (2015); 12 CNCA
12   § 13); and Washington v. Chimei Innolux Corp., 659 F.3d 842, 847 (9th Cir. 2011)).)
13   Plaintiff also contends that the Clayton Act provides statutory parens patriae authority and
14   therefore does not require it to assert “quasi-sovereign or proprietary interests.” (Id. at 19
15   (quoting Pennsylvania v. Mid-Atl. Toyota Distribs., Inc., 704 F.2d 125, 129–30, 132 (4th
16   Cir. 1983)).) Instead, Plaintiff cites Burch v. Goodyear Tire & Rubber Co., 554 F.2d 633,
17   635 (4th Cir. 1977), for the proposition that its Attorney General has authority to bring a
18   parens patriae claim under federal antitrust law for non-monetary relief. (Opp’n 18.)
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21   brief does not discuss proprietary standing. (See generally Opp’n.) At oral argument, Plaintiff cited
     paragraphs 339, 344, 354, 364, 369, and 376 of its amended Complaint, which address the purported harm
22   to Cherokee businesses. (See ECF No. 1321, at 18.) These paragraphs state the following allegation:
     “Plaintiff purchased Packaged Tuna within the State of California,” (FAC ¶ 339), but change each state
23   in each cause of action, e.g., “Plaintiff purchased Packaged Tuna within the State of Kansas,” (id. ¶ 344).
24   These allegations provide no factual detail beyond such conclusory and vague statements. Furthermore,
     proprietary standing is appropriate when a state itself has proprietary interests, such as “own[ing] land or
25   participat[ing] in a business venture.” Snapp, 458 U.S. at 602. Plaintiff has not alleged any facts that, for
     example, the Cherokee Nation itself participated in any business venture harmed by Defendants’ conduct.
26   Therefore, Plaintiff’s proprietary claims must fail. To the extent Plaintiff’s vague allegations constitute
     proprietary causes of action the Court GRANTS IN PART Defendants’ motion and DISMISSES
27   WITHOUT PREJUDICE those claims.
     5
28     Pin citations to docketed material refer to the CM/ECF page numbers electronically stamped at the top
     of each page.

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 1          In the alternative, Plaintiff states that it has alleged the requisite harm to its
 2   population, as well as expressed a quasi-sovereign interest in the economic well-being of
 3   its citizens. (Id. at 18 (citing FAC ¶¶ 10, 340, 350, 355, 360, 365, 370, 376; and New York
 4   ex rel. Spitzer v. Saint Francis Hosp., 94 F. Supp. 2d 399, 420 (S.D.N.Y. 2000)).)
 5          In reply, Defendants argue Plaintiff confuses Article III standing with statutory
 6   standing. (Reply 5.) Defendants assert that Snapp’s parens patriae requirements reflect
 7   Article III standing requirements, rather than requirements that can be replaced by
 8   Congress. (Id.) They would distinguish Plaintiff’s cases; Chimei Innolux required a quasi-
 9   sovereign interest, despite Plaintiff’s characterization of Chimei Innolux as relieving
10   Plaintiff of such a requirement. (See id. at 5–6.) Next, Burch only stands for the
11   proposition that state attorneys general have authority to proceed parens patriae in suits
12   for injunctive relief under section 16 of the Clayton Act, but does not relieve them of the
13   parens patriae requirements. (Id. at 6.) Finally, Defendants contend that Mid-Atlantic
14   Toyota is distinguishable solely because it is a 35-year-old out-of-circuit case that is
15   contrary to binding authority. (Id.) Defendants reiterate their earlier position that Snapp
16   applies and Plaintiff cannot meet the Snapp requirements. (See id. at 6–7.)
17          A. Parens Patriae Standing Under the Antitrust Improvements Act
18          The parties differ sharply on whether Plaintiff’s parens patriae standing
19   requirements are constitutional or prudential. If the requirements are prudential then
20   Congress generally can expand standing to reach the full limits of Article III.                       See
21   Gladstone, Realtors v. Vill. of Bellwood, 441 U.S. 91, 100 (1979) (citing Warth v. Seldin,
22   422 U.S. 490, 501 (1975)). Thus, if Congress has modified the standing requirements then
23   Plaintiff would no longer need to meet the parens patriae standing test articulated by the
24   Supreme Court in Snapp. For reasons discussed in more depth below the line,6 the Court
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26   6
       Article III and prudential standing are distinct concepts; prudential standing is a judicially crafted
     doctrine and does not derive from Article III. See Lexmark Int’l, 134 S. Ct. at 1386 (discussing prudential
27   standing doctrine). Some courts have determined that the parens patriae standing requirements are
28   prudential and not rooted in Article III. See Massachusetts v. EPA, 549 U.S. 497, 540 n.1 (2007) (Roberts,
     C.J., dissenting); In re Elec. Books Antitrust Litig., 14 F. Supp. 3d 525, 535 (S.D.N.Y. 2014) (“[S]o long

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 1   assumes without deciding that parens patriae standing is prudential and not constitutional.
 2   The Court makes this assumption because, as will be seen, Plaintiff cannot meet the
 3   applicable prudential standing requirements for the various causes of action alleged.
 4   Plaintiff argues two sources of authority extend its standing to the fullest extent of Article
 5   III: the Hart-Scott-Rodino Antitrust Improvements Act of 1976 and Cherokee Nation law.
 6   The Court discusses each in turn.
 7          In 1976, Congress passed and President Ford signed into law the Hart-Scott-Rodino
 8   Antitrust Improvements Act, 90 Stat. 1394, 15 U.S.C. § 15c et seq. The Act created a new
 9   right of action for States under existing federal antitrust law. Mid-Atl. Toyota Distribs.,
10   704 F.2d at 128 (citing Reiter v. Sonotone Corp., 442 U.S. 330, 344 n.7 (1979)). The Act
11   provides that an “attorney general of a State7 may bring a civil action in the name of such
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     as [the States] have shown they have standing under Article III, the standing inquiry is at an end.”); New
14   York v. Microsoft Corp., 209 F. Supp. 2d 132, 149 (D.D.C. 2002).
             On the other hand, Defendants direct the Court to dicta in Snapp where the Supreme Court stated,
15   “[f]ormulated so broadly, the concept [of quasi-sovereign interest] risks being too vague to survive the
16   standing requirements of Art. III: A quasi sovereign interest must be sufficiently concrete to create an
     actual controversy between the State and the defendant.” 458 U.S. at 602. This might suggest that parens
17   patriae is rooted in Article III, but the language does not clearly hold that parens patriae is a constitutional
     consideration. Given the Supreme Court’s language and this Court’s finding that Plaintiff is not bringing
18   a claim under the statutory parens patriae section, 15 U.S.C. § 15c, it is sufficient to assume without
     deciding that parens patriae standing is prudential, not constitutional in nature.
19   7
       One issue mentioned in the parties’ footnotes is whether the Nation’s Attorney General falls within the
20   definition of State attorney general for purposes of § 15c. The definition section, 15 U.S.C. § 15g, defines
     “State attorney general” as the “chief legal officer of a State.” § 15g(1). The statute then defines “State”
21   as a “State, the District of Columbia, the Commonwealth of Puerto Rico, and any other territory or
     possession of the United States.” § 15g(2). The statute does not explicitly mention Indian nations.
22   Plaintiff directs the Court to an unreported district court opinion for the proposition that the United States
     holds title to the land in trust on behalf of the Cherokee Nation and therefore the Nation should be
23   considered a possession of the United States. (Opp’n 18 n.9 (citing Buzzard v. Okla. Tax Comm’n, 1992
24   U.S. Dist. LEXIS 22864, at *7–8 (N.D. Okla. Mar. 3, 1992)).)
             The Court is not persuaded that holding title to land translates to the Cherokee Nation being a
25   possession under the federal antitrust statute. In Wilson v. Marchington, the Ninth Circuit discussed two
     Supreme Court decisions relating to whether Indian nations are territories or possession—the cases have
26   diverging conclusions. See 127 F.3d 805 (9th Cir. 1997). In United States ex rel. Mackey v. Coxe, 59
     U.S. (18 How.) 100, 103–04 (1855), the Supreme Court “held the Cherokee nation was a territory as that
27   term was used in a federal letters of administration statute.” Wilson, 127 F.3d at 808. By contrast, in New
28   York ex rel. Kopel v. Bingham, 211 U.S. 468, 474–75 (1909), the Court cited with approval a district court
     opinion that held the Cherokee Nation was not a “territory” under the federal extradition statute. Wilson,

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 1   State, as parens patriae on behalf of natural persons residing in such State, in any district
 2   court of the United States having jurisdiction of the defendant, to secure monetary relief as
 3   provided in this section for injury sustained by such natural persons to their property by
 4   reason of any violation of sections 1 to 7 of this title.” 15 U.S.C. § 15c(a)(1) (emphasis
 5   added).
 6          Thus, Congress has expressly authorized state attorneys general to bring suit under
 7   the Antitrust Improvements Act and Plaintiff need not demonstrate prudential standing, so
 8   long as it brings a claim for monetary relief under § 15c. But here is the critical point:
 9   Plaintiff does not bring an action under § 15c. Its amended Complaint clearly states that it
10   only seeks injunctive relief under the Sherman Act, (FAC ¶ 252); § 15c only allows
11   monetary relief. To the extent it seeks monetary relief, Plaintiff does so under Cherokee
12   Nation law. (Id., Prayer for Relief, ¶ b.) Logically, Plaintiff cannot rely on § 15c to provide
13   standing when it has no claim under that section.
14          Nonetheless, the Nation argues that the Antitrust Improvements Act, codified in
15   § 15c, provides standing to bring a non-monetary, i.e., injunctive, relief claim. (See Opp’n
16   18–19.) Plaintiff’s reading of the law in incorrect. The Antitrust Improvements Act did
17   not amend section 16 of the Clayton Act, codified at 15 U.S.C. § 26, which provides a
18   private cause of action for injunctive relief. The plain language of the § 15c only mentions
19   monetary—not injunctive—relief. Section 15c only created a new procedural means—the
20   parens patriae civil action—through which a State could enforce already existing rights of
21
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23   127 F.3d at 808. In Wilson, the Ninth Circuit declined to extend full faith and credit to tribal court
24   decisions because the court construed the term “territory or possession of the United States” in 28 U.S.C.
     § 1738 to not include Indian tribes. Id. at 809. At oral argument, Plaintiff maintained that Coxe is on
25   point for the issue whether the Cherokee Nation is a territory or possession. (ECF No. 1321, at 14.) Coxe’s
     applicability to the federal antitrust statute is far from certain, especially in light of the reasoning in
26   Bingham and Wilson.
             The Court notes that should Plaintiff amend its complaint to rely on 15 U.S.C. § 15c it will likely
27   need to more thoroughly discuss this issue. Because Plaintiff does not explicitly rely on § 15c, the Court
28   will proceed with its analysis, assuming that Plaintiff could eventually demonstrate it has standing under
     § 15c.

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 1   recovery under section 4 of the Clayton Act. See Ill. Brick v. Illinois, 431 U.S. 720, 733
 2   n.14 (1977).
 3          Plaintiff cites dicta in Burch, where the Fourth Circuit said that “the congressional
 4   intent regarding the Hart-Scott-Rodino Antitrust Improvements Act of 1976 disclosed
 5   congressional recognition that state attorneys general suing as parens patriae clearly have
 6   standing to seek injunctive relief under Section 16 of the Clayton Act.” 554 F.2d at 635
 7   (citations omitted). The Burch court’s statement did not hold that § 15c extends to
 8   injunctive relief, but merely recognized that the Supreme Court already allowed parens
 9   patriae actions for injunctive relief under section 16, id. at 635 n.3 (citing Georgia v. Pa.
10   R.R., 324 U.S. 439 (1945)), and the Act did not disturb the Supreme Court’s holding. Thus,
11   the Antitrust Improvement Act, 15 U.S.C. § 15c, does not supply the requisite standing for
12   Plaintiff to request injunctive relief.
13          B. Parens Patriae Standing Under Cherokee Nation Law
14          The Cherokee Nation advances a second ground by which it has standing to assert a
15   parens patriae action under both federal and state law without meeting the Snapp test. It
16   argues that the Nation’s Attorney General has authority to initiate a civil action on behalf
17   of the citizens of the Cherokee Nation under 51 CNCA § 105.B.28 and under the Cherokee
18   Constitution, Article VII, § 13, which authorizes the Attorney General to represent the
19   Nation in all civil actions “wherein the Cherokee Nation is named as a party.” (Opp’n 17.)
20   Plaintiff also argues the Cherokee Nation Attorney General has standing to bring a parens
21
22
23   8
       Plaintiff’s Opposition brief cites to 12 CNCA § 13 and 51 CNCA § 105.B.14 as providing the requisite
24   statutory standing. These citations to the Cherokee Nation Code do not appear to be correct. For example,
     12 CNCA § 13 concerns the tolling of the limitations period for minors or incompetents. 51 CNCA
25   § 105.B.14 provides the Attorney General with authorization to prosecute all civil and criminal actions
     against or within the jurisdiction of the Cherokee Nation. The Court believes title 51, section 105.B.2 is
26   the appropriate citation, which authorizes the Attorney General to “initiate or appear . . . in any action in
     which the interests of the Nation or the People of the Nation are at issue.” If Plaintiff cites Cherokee
27   Nation Code going forward in this litigation, it should provide a copy of the relevant section, either by
28   reference or judicial notice, for the Court. The Code is not available on the commercial reporters and the
     Cherokee Nation’s website only contains a copy of the Code from 2015.

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 1   patriae civil action under the laws of other states. (Id. at 31.) To that end, recently enacted
 2   Cherokee Nation law provides that:
 3                The Cherokee Nation Attorney General acting as parens patriae,
                  may bring a civil cause of action in any district court of the
 4
                  United States . . . having jurisdiction over a defendant, to secure
 5                monetary or injunctive relief based on any applicable federal
                  statute, common law, or the laws of any state.
 6
 7
     12 CNCA § 7 (2018) (emphasis added). Similarly, 51 CNCA § 105.B.2 authorizes the
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     Attorney General to “initiate or appear . . . in any action in which the interests of the Nation
 9
     or the People of the Nation are at issue.” Thus, the issue is whether these constitutional
10
     and statutory sections allow the Cherokee Nation to displace the general rule articulated in
11
     Snapp.
12
           The Court reads the foregoing Cherokee Nation provisions as authorizing the
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     Attorney General to bring a suit under applicable substantive law, whether federal or state.
14
     That is half the equation; the other half is what constitutes “applicable” law. Can the
15
     Cherokee Nation Attorney General bring suit as if he is the Kansas attorney general simply
16
     because Cherokee Nation law authorizes parens patriae but the Kansas legislature does not
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     explicitly do so? Plaintiff cites no authority for such a proposition. The proper inquiry is
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     whether the Nation’s Attorney General is within the scope of the cause of action authorized
19
     by Congress or a state legislature. See D.R. Ward Const. Co. v. Rohm & Haas Co., 470 F.
20
     Supp. 2d 485, 495 (E.D. Pa. 2006) (noting that “the concept of prudential standing in the
21
     antitrust context is intertwined with the substantive content of and intent behind the
22
     particular statute authorizing the cause of action”).
23
           In sum, it is not enough that Cherokee Nation law authorizes the Attorney General
24
     to bring suit; the Nation must also demonstrate that it meets the prudential standing
25
     requirements of the state or federal substantive law in question, i.e., that it is within the
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     class of persons who can sue under a statute. The Court will shortly discuss Plaintiff’s
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     standing under section 16 of the Clayton Act, see infra section I.C, to request declaratory
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 1   relief, see infra section I.D, and standing under various state substantive law, see infra
 2   section II.
 3           C. Parens Patriae Standing Under Section 16 of the Clayton Act
 4           Plaintiff’s amended Complaint seeks injunctive relief for violation of section 1 of
 5   the Sherman Act. (FAC ¶ 252.) Injunctive relief is governed by section 16 of the Clayton
 6   Act, which provides “[a]ny person, firm, corporation, or association shall be entitled to sue
 7   for and have injunctive relief, in any court of the United States having jurisdiction over the
 8   parties, against threatened loss or damage by a violation of the antitrust laws.” 15 U.S.C.
 9   § 26.
10           1. The Parties’ Arguments
11           Defendants state that Plaintiff’s only federal claim is for an injunction under the
12   Sherman Act. (MTD 22 (citing FAC Prayer for Relief, ¶ d; id. ¶¶ 247–52).) Defendants
13   contend that Plaintiff has failed to state a claim such that the Court does not have subject
14   matter jurisdiction. Defendants also point out that this Court previously dismissed identical
15   claims made by other plaintiffs in this MDL for failing to “plead facts that plausibly
16   establish the continuing risk of threatened injury.” (Id. (citing In re Packaged Seafood
17   Prod. Antitrust Litig., No. 15-2670, 2017 WL 35571, at *12 (S.D. Cal. Jan. 3, 2017); and
18   In re Packaged Seafood Prod. Antitrust Litig., 277 F. Supp. 3d 1167, 1176 (S.D. Cal.
19   2017)).) They argue that Plaintiff, like the plaintiffs in the previous orders, have pleaded
20   no facts supporting an ongoing conspiracy and to the extent Plaintiff has pleaded facts, the
21   facts are inconsistent with an ongoing conspiracy or any real or immediate threat of harm
22   in the future. (Id. at 11–12 (citing FAC ¶¶ 2, 252).) Defendants conclude that Plaintiff’s
23   sole federal claim is defective and urge the Court to dismiss the entire complaint for lack
24   of subject matter jurisdiction. (Id. at 12.)
25           Plaintiff argues that jurisdictional dismissal is warranted only “where the alleged
26   claim under the Constitution or federal statutes clearly appears to be immaterial and made
27   solely for the purpose of obtaining jurisdiction or where such a claim is wholly
28   insubstantial and frivolous.” (Opp’n 12 (quoting Bell v. Hood, 327 U.S. 678, 682–83

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 1   (1946)).) Plaintiff would apply Hood in this case because the Court’s prior rulings
 2   determined that claims similar to Plaintiff’s claims were not frivolous. (Id. at 13 (citing
 3   ECF Nos. 283, 295, 492).) Plaintiff advances a second argument; that injunctive relief is
 4   appropriate to eliminate the “lingering effects” of illegal conduct. (Id. (quoting In re
 5   Multidistrict Vehicle Air Pollution, 538 F.2d at 234).) Plaintiff avers that this Court’s
 6   previous rulings should not apply here because Plaintiff has plausibly alleged lingering
 7   effects from which Defendants continue to benefit. (Id. (citing FAC ¶¶ 131–33).)
 8         Defendants respond that they only seek dismissal of Plaintiff’s injunctive relief
 9   claim because the Nation fails to plead facts to support a claim. (Reply 2.) That is, they
10   do not seek dismissal on jurisdictional grounds; thus Bell v. Hood and its progeny are
11   inapplicable. (Id.)
12         2. Parens Patriae Standing for Injunctive Relief
13         Thus far in the analysis, Plaintiff’s federal antitrust claim has not cleared the first
14   hurdle—standing. Is § 15c sufficient to confer standing for injunctive relief? The answer
15   is no. Does Cherokee Nation law confer standing: yes, but only if the substantive law in
16   question, state or federal, allows standing by a parens patriae plaintiff. This section deals
17   with the question of whether Plaintiff may proceed with a federal antitrust injunctive relief
18   claim under parens patriae standing.
19         The Supreme Court’s decisions, in particular Georgia v. Pennsylvania Railroad and
20   Snapp, demonstrate that a parens patriae plaintiff must meet the two-part test outlined in
21   Snapp. In Pennsylvania Railroad, the state of Georgia alleged that twenty railroad
22   companies conspired to fix freight rates in violation of federal antitrust laws. See 324 U.S.
23   at 443–44. Georgia brought suit in its capacity as quasi-sovereign, i.e., parens patriae, and
24   in its proprietary capacity seeking both damages and injunctive relief. Id. at 443. The
25   Supreme Court surveyed the relevant authority to determine whether Georgia could
26   maintain the action under the Court’s original jurisdiction. See id. at 447–50 (citing, e.g.,
27   Pennsylvania v. West Virginia, 262 U.S. 553 (1923); Georgia v. Tenn. Copper Co., 206
28   U.S. 230 (1907); and Kansas v. Colorado, 206 U.S. 46 (1907)). The Court held that

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 1   “Georgia may maintain this suit as parens patriae acting on behalf of her citizens.” Id. at
 2   450. And, the Court also determined that Georgia stated a claim for injunctive relief under
 3   section 16 of the Clayton Act. See id. at 460–62.
 4         More than thirty years later, the Court revisited the requirements for parens patriae
 5   in Snapp. The question presented was whether Puerto Rico could maintain a parens patriae
 6   action seeking injunctive and declaratory relief based on harm to migrant workers who had
 7   been recruited to work an apple harvest in the continental United States. See Snapp, 458
 8   U.S. at 597–99. The Court again reviewed the line of cases permitting a parens patriae
 9   action, focusing on the same authorities discussed in Pennsylvania Railroad, as well as the
10   holding of Pennsylvania Railroad itself. See id. at 600–06. The conclusion is worth
11   quoting:
12                This summary of the case law involving parens patriae actions
                  leads to the following conclusions. In order to maintain such an
13
                  action, the State must articulate an interest apart from the
14                interests of particular private parties, i.e., the State must be more
                  than a nominal party. The State must express a quasi-sovereign
15
                  interest.
16
17   Id. at 607. The upshot of Pennsylvania Railroad, Snapp, and similar cases is clear; where
18   a sovereign seeks to maintain a parens patriae action under section 16 of the Clayton Act,
19   it must meet the requirements outlined in Snapp.
20         This view was implicitly recognized by a district court considering similar issues in
21   New York v. Microsoft Corp., 209 F. Supp. 2d 132 (D.D.C. 2002). There, the United States
22   and several individual States filed suit against Microsoft alleging antitrust violations. Id.
23   at 136. Microsoft argued that the States did not meet the standing requirements under
24   section 16 of the Clayton Act to bring a parens patriae action. Id. at 150. In making this
25   argument, Microsoft proposed a rule that a state alleging a parens patriae action must
26   establish it is seeking to remedy some state-specific injury and must distinguish the injury
27   to its citizenry from the injury shared in common by all citizens of the United States. Id.
28   at 151. The court rejected this proposed rule relying on Snapp and Pennsylvania Railroad.

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 1   Id. Instead, the court found the plaintiff States had standing because they had proven a
 2   significant harm to their citizens:
 3                It cannot, therefore, be said that this is a case where the “primary
                  thrust of an alleged wrong is injury to a narrowly limited class of
 4
                  individuals, and the harm to the economy as a whole is
 5                insignificant by comparison.” At a minimum, this is a case
                  where “the direct impact of the alleged wrong [is] felt by a
 6
                  substantial majority, though less than all, of the state’s citizens,
 7                so that the suit can be said to be for the benefit of the public.”
 8   Id. at 152 (alteration in original) (quoting Pennsylvania ex rel. Shapp v. Kleppe, 533 F.2d
 9   668, 675 (D.C. Cir. 1976)).
10         This Court sees no reason to depart from the general rule articulated in Snapp.
11   Plaintiff must demonstrate the parens patriae standing requirements outlined in Snapp to
12   bring a section 16 claim.
13         3. Applying Snapp’s Framework to Plaintiff’s Amended Complaint
14         Because section 16 does not explicitly confer Plaintiff standing to bring an injunctive
15   relief claim, Plaintiff must demonstrate it meets the standing requirements outlined by the
16   Supreme Court in Snapp. See 458 U.S. at 607. Defendants argue that the Cherokee Nation
17   has not alleged injury to a sufficiently substantial segment of its population. (MTD 17.)
18   Plaintiff argues that it has sufficiently alleged a quasi-sovereign interest in the economic
19   well-being of its citizens and has alleged such harm to its population. (Opp’n 18.)
20         The Court agrees with Defendants. While the Supreme Court “has not attempted to
21   draw any definitive limits on the proportion of the population of the State that must be
22   adversely affected by the challenged behavior,” the Court does require that “more must be
23   alleged than injury to an identifiable group of individual residents.” Snapp, 458 U.S. at
24   607. Plaintiff’s amended Complaint alleges that its citizens, “indirect purchasers of
25   Packaged Tuna, have overpaid for Packaged Tuna as a direct result of Defendants’
26   conspiracy and conduct.”       (FAC ¶ 10; see also id. ¶ 340 (“Defendants unlawfully
27   overcharged end payers, who made purchases of Defendants’ Packaged Tuna in California
28   at prices that were more than they would have been but for Defendants’ actions); ¶¶ 345,

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 1   350, 355, 365, 370, 376 (copying allegation in paragraph 340 and changing the name of
 2   the relevant state).) The allegations do not describe in any further depth the proportion or
 3   magnitude of the injury to the Cherokee Nation.
 4         One could imagine a case where the line between a significant proportion and an
 5   insignificant proportion of a population is a close call. This is not one of those cases. The
 6   Court cannot adjudicate whether Plaintiff has alleged injury to a significant proportion of
 7   its population because Plaintiff has not alleged facts about any proportion of its population.
 8   Rather, Plaintiff states, in conclusory fashion, that its citizens “have overpaid for Packaged
 9   Tuna.” (Id. ¶ 10.) In an effort to fend off this conclusion, Plaintiff argues that it cannot
10   allege with more specificity the magnitude of the injury or the number of citizens injured
11   because of Defendants’ fraudulent concealment of their anticompetitive scheme. (Opp’n
12   18 n.8 (citing FAC ¶¶ 231–46).) Those fraudulent concealment allegations concern actions
13   by Defendants to conceal their own activities; such activities do not prevent Plaintiff from
14   gathering and alleging information about its own population. If Plaintiff cannot explain
15   how Defendants have injured a significant portion of the Cherokee Nation then perhaps the
16   proper recourse is for individual consumers to join putative class actions against
17   Defendants or bring their own claims.
18         By way of comparison, in the Microsoft case, the district court found that “millions
19   of citizens of, and hundreds, if not thousands, of enterprises in each of the United States
20   and the District of Columbia utilize PCs running on Microsoft software.” 209 F. Supp. 2d
21   at 152 (quoting United States v. Microsoft Corp., 87 F. Supp. 2d 30, 55 (D.D.C. 2000)).
22   The court went on to state, “[a]t a minimum, this is a case where ‘the direct impact of the
23   alleged wrong [is] felt by a substantial majority, though less than all, of the state’s citizens,
24   so that the suit can be said to be for the benefit of the public.’” Id. (second alteration in
25   original) (quoting Kleppe, 533 F.2d at 675). Here, we do not have similar information that
26   would demonstrate injury to the Cherokee Nation’s citizens.
27         The Court does not determine whether Plaintiff has a quasi-sovereign interest
28   because Plaintiff’s amended Complaint fails the first element of the Snapp standing test.

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 1   The Court finds Plaintiff fails to meet its burden to demonstrate it has standing to bring an
 2   injunctive relief claim under federal antitrust law.
 3         D. Parens Patriae Standing Under the Declaratory Relief Act
 4         Plaintiff also contends that this Court has jurisdiction to hear its claims under the
 5   Sherman Act because it seeks declaratory relief. (Opp’n 13 (citing FAC Prayer for Relief
 6   ¶ a).) To that end, Plaintiff cites several cases where courts have held that a declaratory
 7   relief action under the Sherman Act is sufficient to provide federal question jurisdiction.
 8   (Id. at 14 (citing, e.g., S. Side Theatres, Inc. v. United W. Coast Theatres Corp., 178 F.2d
 9   648, 651 (9th Cir. 1949)).) Plaintiff urges the Court to find subject matter jurisdiction
10   based on its declaratory relief claim.
11         Defendants respond that a declaratory relief claim must satisfy Article III’s standing
12   requirements. (Reply 2 (citing, e.g., Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d
13   1134, 1138 (9th Cir. 2000) (en banc)).) They assert Plaintiff does not meet the requirement
14   because Plaintiff fails to plead an ongoing conspiracy and the cases Plaintiff cites all
15   involved a party to an ongoing agreement. (Id. at 2–3.) Defendants also contend that
16   Article III requires ripeness and a declaratory action must raise “a substantial
17   controversy, . . . . of sufficient immediacy and reality to warrant the issuance of a
18   declaratory judgment.” (Id. at 3 (emphasis omitted) (quoting In re Coleman, 560 F.3d
19   1000, 1005 (9th Cir. 2009)).) Defendants argue that Plaintiff has not plead immediacy here
20   because the amended Complaint does not plausibly plead an ongoing conspiracy. (See id.)
21         A court may grant declaratory relief “[i]n a case of actual controversy within its
22   jurisdiction.” 28 U.S.C. § 2201(a). Accordingly, a district court must determine at the
23   outset whether the parties have presented an actual case or controversy within the court’s
24   jurisdiction. Principal Life Ins. Co. v. Robinson, 394 F.3d 665, 669 (9th Cir. 2005). The
25   Declaratory Judgment Act is a “procedural device only; it does not confer an independent
26   basis of jurisdiction on the federal court.” Guaranty Nat’l Ins. Co. v. Gates, 916 F.2d 508,
27   511 (9th Cir. 1990) (citing, e.g., Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667,
28   671–72 (1950)). “A declaratory judgment action may be entertained in federal court only

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 1   if the coercive action that would have been necessary, absent the declaratory judgment
 2   procedure, could have been heard in a federal court.” Id.; see also Morongo Band of
 3   Mission Indians v. Cal. State Bd. of Equalization, 858 F.2d 1376 1382–83 (9th Cir. 1988)
 4   (“The Declaratory Judgment Act merely creates a remedy in cases otherwise within the
 5   court’s jurisdiction; it does not constitute an independent basis for jurisdiction.” (citing
 6   Fiedler v. Clark, 714 F.2d 77, 79 (9th Cir. 1983) (per curiam)).
 7         Declaratory relief is a remedy and does not modify standing requirements. In order
 8   for Plaintiff to seek declaratory relief, it must still meet the parens patriae requirements
 9   outlined in Snapp. Indeed, the respondent in Snapp “sought declaratory relief with respect
10   to the past practices of petitioners” and the Court applied the two-part test to the declaratory
11   relief claim. 458 U.S. at 598–99. As previously discussed, Plaintiff has not alleged an
12   interest apart from the interest of private parties. See id. at 607; supra section I.C.3. Thus,
13   Plaintiff does not have standing under the Sherman and Clayton Acts, as currently pled.
14         The Court finds that Plaintiff does not have standing to seek declaratory relief.
15   Plaintiff has no basis for standing under the Sherman Act. Accordingly, the Court
16   GRANTS IN PART Defendants’ Motion and DISMISSES WITHOUT PREJUDICE
17   Plaintiff’s first cause of action under the Sherman Act.
18         E. Parens Patriae Standing Under Laws of Other States
19         Plaintiff brings substantive claims not just under 15 U.S.C. § 1, but also under the
20   laws of several states, including California, Kansas, Arizona, Colorado, New Mexico,
21   Oklahoma, Florida and the Cherokee Nation’s own laws. This raises, as previously
22   discussed, the issue of whether the Cherokee Nation’s Attorney General needs
23   authorization to bring a parens patriae claim under the laws of other states. The Court
24   briefly discusses the relevance of this section; Plaintiff’s sole federal question claim has
25   been dismissed. Therefore, the Court must determine whether to exercise supplemental
26   jurisdiction over Plaintiff’s remaining State and Indian law claims. Before doing so, the
27   Court analyzes whether Plaintiff can bring any claim under State law.
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 1         Defendants argue that California, Oklahoma, Colorado, and Florida law only allow
 2   parens patriae actions pursuant to statutory grants of authority and the relevant authority
 3   in each state only allows that state’s attorney general to bring a claim under state law.
 4   (MTD 17.) As to the remaining states—Kansas, Arizona, and New Mexico—Defendants
 5   cite California v. Infineon Technologies AG, 531 F. Supp. 2d 1124, 1165–66 (N.D. Cal.
 6   2007), for the proposition that courts dismiss claims under state law when the plaintiff
 7   cannot supply state authority that “expressly authorizes” a state attorney general to bring a
 8   parens patriae claim. (MTD 17.) Defendants contend that the Cherokee Nation cannot
 9   point to any such authority. (Id.)
10         As discussed, Plaintiff argues that the Cherokee Nation’s Attorney General has
11   statutory authority to bring a parens patriae action on behalf of all Nation citizens. (Opp’n
12   19.) It acknowledges that the Nation does not seek to represent its citizens of other states,
13   but the Nation would represent citizens who reside in other states and hold dual citizenship
14   with both the Cherokee Nation and the state in which they reside. (Id. at 20.) Plaintiff
15   advances two arguments concerning Infineon. First, Infineon held that if there is legal
16   authority in a state that expressly authorized a parens patriae action, then courts presume
17   the existence of such authority, and, here, the Cherokee Nation Attorney General has such
18   authorization under Cherokee Nation law. (Id. (citing Infineon, 531 F. Supp. 2d at 1165);
19   see also id. at 31 (citing 12 CNCA § 7).) Second, at oral argument, Plaintiff maintained
20   that Infineon does not apply because it was generally discussing California’s Cartwright
21   Act. (ECF No. 1321, at 16.)
22         Defendants respond by arguing Plaintiff ignores Infineon’s reasoning that prohibits
23   foreign attorneys general from bringing claims under the laws of states that limit parens
24   patriae authority to their own attorneys general. (Reply 5 (citing Infineon, 531 F. Supp. 2d
25   at 1133, 1140).)
26         1. California
27         Plaintiff’s second cause of action is for violation of the California Cartwright Act,
28   which is the State’s antitrust statute. (FAC ¶ 254.) The Act specifically authorizes the

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 1   California Attorney General to bring suit on behalf of the people of California. See Cal.
 2   Bus. & Prof. Code § 16760(a)(1) (“The Attorney General may bring a civil action in the
 3   name of the people of the State of California, as parens patriae on behalf of natural persons
 4   residing in the state, . . . .”). As the Infineon court observed,
 5                This provision could not be plainer: where the Attorney General
                  is empowered to bring a damages action seeking relief for
 6
                  violation(s) of the Cartwright Act, it is only the California
 7                Attorney General who is so empowered, and on behalf of
                  California residents only. The out-of-state Attorneys General
 8
                  therefore have no parens patriae authority under the Act.
 9
10   531 F. Supp. 2d at 1133.
11         The Court agrees with the Infineon court; the plain language of the Cartwright Act
12   belies no statutory authorization for a foreign attorney general to bring a parens patriae
13   suit under California antitrust law. The plain language of the statute only discusses a
14   singular attorney general, i.e., the attorney general. This is different from statutory
15   language that authorizes multiple attorneys general. Cf. 15 U.S.C. § 15c (“Any attorney
16   general of a State . . . .”). Thus, only the California Attorney General can bring suit under
17   section 16760.
18         Plaintiff argues that it is not bringing a claim under California Business and
19   Profession Code § 16760, but is instead bringing a claim under § 16570(a), which supplies
20   a cause of action to “any person” who is injured. (Opp’n 30.) Thus, the Cherokee Nation
21   seeks to represent those persons, living in California, but having dual citizenship with the
22   Cherokee Nation, who would have a cause of action under § 16570(a).
23         This is an interesting argument considering dicta in the Supreme Court’s opinion in
24   Standard Oil, states: “Hawaii plainly qualifies as a person under both sections [4 and 16]
25   of the [Clayton Act], whether it sues in its proprietary capacity or as parens patriae.” 405
26   U.S. at 261 (citing Pa. R.R., 324 U.S. at 447). The issue then becomes, does this reasoning
27   extend to California law? The Infineon court said no. There, the court reasoned that the
28   California legislature provided a parens patriae cause of action in § 16760, which only

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 1   authorized the California attorney general to bring such a claim. 531 F. Supp. 2d at 1132–
 2   33. This Court thinks such reasoning sound. The California legislature clearly provided a
 3   parens patriae cause of action under § 16760. It would not make sense for it to create the
 4   same cause of action, sub silentio, in § 16570. Or, at least, the Court cannot assume the
 5   legislature did so without some authority saying as much, which Plaintiff has not provided.
 6   Accordingly, the Court finds Plaintiff has no standing to bring a parens patriae claim for
 7   violation of the California Cartwright Act.
 8         Plaintiff also brings a cause of action under California’s Unfair Competition Law,
 9   Cal. Bus. & Prof. Code § 17200, et seq. (FAC ¶ 260.) Like the Cartwright Act, the Unfair
10   Competition Law authorizes damages “which shall be assessed and recovered in a civil
11   action brought in the name of the people of the State of California by the Attorney
12   General.” Cal. Bus. & Prof. Code § 17206(a); see also Cal. Bus. & Prof. Code § 17204
13   (“Actions for relief pursuant to this chapter shall be prosecuted exclusively in a court of
14   competent jurisdiction by the Attorney General . . . in the name of the people of the State
15   of California . . . .”). For the same reasons as discussed in the Cartwright Act analysis, the
16   Unfair Competition Law does not authorize foreign attorneys general to bring a parens
17   patriae suit. Thus, the Court finds Plaintiff has no standing to bring a parens patriae claim
18   for violation of the California Unfair Competition law.
19         Finally, Plaintiff brings a cause of action under California law for “unjust
20   enrichment.” (See FAC ¶¶ 338–42.) “[I]n California, there is not a standalone cause of
21   action for ‘unjust enrichment,’ which is synonymous with ‘restitution.’” Astiana v. Hain
22   Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015) (citing Durell v. Sharp Healthcare,
23   108 Cal. Rptr. 3d 682, 699 (Ct. App. 2010); and Jogani v. Superior Court, 81 Cal. Rptr. 3d
24   503, 511 (Ct. App. 2008)). “Rather, [California courts] describe the theory underlying a
25   claim that a defendant has been unjustly conferred a benefit ‘through mistake, fraud,
26   coercion, or request.’” Id. (citing 55 Cal. Jur. 3d Restitution § 2). A court may construe
27   an unjust enrichment claim as a quasi-contract claim seeking restitution. Id. (citing
28   Rutherford Holdings, LLC v. Plaza Del Rey, 166 Cal. Rptr. 3d 864, 872 (Ct. App. 2014)).

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 1         Because no statute authorizes standing to bring an unjust enrichment claim, Plaintiff
 2   must demonstrate it meets the prudential standing requirements outlined by the Supreme
 3   Court in Snapp. See 458 U.S. at 607 (“[T]he State must articulate an interest apart from
 4   the interests of particular private parties, i.e., the State must be more than a nominal
 5   party.”). The Court previously determined Plaintiff fails to do so and reiterates prior
 6   finding here. See supra section I.C.3. Accordingly, the Court finds Plaintiff does not have
 7   standing to bring a parens patriae claim for unjust enrichment under California law.
 8         2. Kansas
 9         Plaintiff’s fourth cause of action is for violation of the Kansas Restraint of Trade
10   Act, Kan. Stat. Ann. § 50-101, et seq. (FAC ¶ 271.) The Act authorizes “[t]he attorney
11   general” to bring an action. Kan. Stat. Ann. § 50-103(a); see also § 50-109 (“The attorney
12   general shall: (a) Enforce this act throughout the state; . . . .”). The statute does not
13   explicitly authorize a foreign attorney general as evidenced by the use of the term “[t]he
14   attorney general” rather than “an” or “any” attorney general. Plaintiff directs the court to
15   a district court opinion that characterizes section 50-103 as the “functional equivalent of
16   parens patriae.” In re Lorazepam & Clorazepate Antitrust Litig., 205 F.R.D. 369, 386
17   (D.D.C. 2002). Even assuming the district court’s characterization of the statute was
18   correct, it provides no help to Plaintiff. In that case, the State of Kansas was a party to the
19   litigation and Kansas law conferred authority on the Kansas attorney general to bring an
20   action—the opinion did not discuss authorizing a foreign attorney general to bring an action
21   under Kansas law. See id. Thus, the Court finds Plaintiff does not have standing to bring
22   a parens patriae claim for violation of the Kansas Restraint of Trade Act.
23         Plaintiff also argues that Cherokee Nation citizens are persons as defined by the Act,
24   (Opp’n 33 (citing Kan. Stat. Ann. § 50-148)), and its Attorney General can bring suit on
25   their behalf, (id. (citing Kan. Stat. Ann. § 50-161(b)). Defendants argue that section 50-
26   148 does not explicitly reference attorneys general and a parens patriae action must have
27   some sort of affirmative statutory authorization. (Reply 4–5.)
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 1          The Court agrees with Defendants. Kansas law allows the Kansas attorney general
 2   to bring a representative action. Kan. Stat. Ann. § 50-103. It also allows private parties to
 3   assert a private cause of action. § 50-148. It does not follow, however, that a private cause
 4   of action allows a foreign attorney general, suing on behalf of a different sovereign, to
 5   vindicate the public rights of the Cherokee Nation. See Infineon, 531 F. Supp. 2d at 1133
 6   (“[A] parens patriae action is expressly defined as a means for a state to seek redress for
 7   wrongs affecting the public at large, while a class action is generally a means by which
 8   individual private rights may be collectively enforced.” (citing Standard Oil, 405 U.S. at
 9   257–58)).9 The Court does not doubt that individual private citizens, residing in Kansas
10   and holding dual Cherokee-Kansan citizenship, could bring an action, but the Court will
11   not bootstrap the statutory language to presume a sovereign entity could bring a public
12   action under the same private provision without express authorization.
13          Finally, Plaintiff points to a harmonization provision in Kansas law that requires the
14   Act to be “construed in harmony with ruling judicial interpretations of federal antitrust law
15   by the United States supreme court.” Kan. Stat. Ann. § 50-163(b). Plaintiff argues that
16   although Kansas law does not explicitly contain the words “parens patriae” it is
17   appropriate, using the harmonization provision, to allow all types of actions permitted by
18   the Sherman Act. (Opp’n 34 (citing 15 U.S.C. § 15c).) This argument is unpersuasive.
19   Section 15c is a statutory provision, not a “judicial interpretation of federal antitrust law.”
20   Kan. Stat. Ann. § 50-163(b).
21          Plaintiff’s thirteenth cause of action is for unjust enrichment under Kansas law.
22   (FAC ¶¶ 343–47.) In Kansas, unjust enrichment is an equitable doctrine, a “modern
23   designation for the older doctrine of quasi-contracts.” Haz-Mat Response, Inc. v. Certified
24   Waste Servs. Ltd., 269 Kan. 166, 176 (1996) (citing Peterson v. Midland Nat’l Bank, 242
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26   9
       Plaintiff argues that Infineon does not address Kansas law and, presumably, is inapplicable. (Opp’n 34
     n.21.) Simply because the Infineon court did not apply Kansas law does not also mean its reasoning is
27   inapplicable. The fundamental issue at the core of all Plaintiff’s state law claims is whether a foreign
28   attorney general can bring a parens patriae suit under the law of a state other than the one he represents.
     Infineon dealt directly with that issue and the Court finds its reasoning sound.

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 1   Kan. 266, 275 (1987)). Because unjust enrichment is not statutory, Snapp applies. For
 2   reasons stated above, see supra section I.C.3, the Court finds Plaintiff cannot meet the
 3   prudential parens patriae standing requirements for a Kansas unjust enrichment claim.
 4         3. Arizona
 5         Plaintiff’s fifth cause of action is for violation of the Arizona Uniform State Antitrust
 6   Act. (FAC ¶ 277.) The Arizona Uniform State Antitrust Act, Ariz. Rev. Stat. § 44-1401,
 7   et seq., provides that “[t]he attorney general . . . may bring an action for appropriate
 8   injunctive or other equitable relief and civil penalties . . . in the name of the state for a
 9   violation of this article.” Ariz. Rev. Stat. § 44-1407. The plain language of the statute
10   references the attorney general and authorizes the attorney general to bring suit in the name
11   of the state. As with other statutes previously discussed, Arizona law does not authorize a
12   foreign attorney general to bring a parens patriae action under Arizona law.
13         Plaintiff also argues that it could bring a cause of action under section 44-108, which
14   provides a cause of action to any “person threatened with injury or injured” by a violation
15   of the Act. (Opp’n 36 (quoting Ariz. Rev. Stat. § 44-1408(B)).) The Act elsewhere defines
16   person as “an individual, corporation, business trust, partnership, association or any other
17   legal entity.” Ariz. Rev. Stat. § 44-1401. Plaintiff is thus arguing that the Attorney General
18   is bringing a parens patriae claim on behalf of those persons who were allegedly harmed.
19   The plain language does not authorize such representative actions. The structure of the
20   statute confirms the plain language. Section 44-108(A) allows “[t]he state” to bring an
21   action for appropriate relief and, as previously discussed, section 44-107 authorizes the
22   Arizona attorney general to bring an action. Thus, the statute provides for public causes of
23   action in sections 44-108(A) and 44-107 and a private cause of action in section 44-108(B).
24   Because the structure distinguishes the causes of action, the Arizona legislature likely did
25   not intend to allow a representative type action in a private cause of action. Or, at least,
26   the Court does not make such a finding without authority saying so.
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 1         Thus, the Arizona Uniform State Antitrust Act provides no authorization for a
 2   foreign attorney general to bring a parens patriae suit and the Court finds Plaintiff cannot
 3   bring a parens patriae claim for violation of the Arizona Uniform State Antitrust Act.
 4         Plaintiff also alleges a cause of action for unjust enrichment under Arizona law.
 5   (FAC ¶¶ 348–52.) In Arizona, unjust enrichment is a form of restitution to enforce contract
 6   rights when there exists no valid contract. See Murdock-Bryant Const., Inc. v. Pearson,
 7   146 Ariz. 48, 52–53 (1985). For reasons previously discussed, the Court finds Plaintiff has
 8   not alleged sufficient facts for parens patriae standing, see supra section I.C.3.
 9         4. Colorado
10         Plaintiff’s sixth cause of action is for violation of section 6-4-104 of the Colorado
11   Antitrust Act of 1992. (FAC ¶ 283.) Colorado law explicitly authorizes a parens patriae
12   civil action, but only “[t]he attorney general may bring” such an action. Colo. Rev. Stat.
13   Ann. § 6-4-111(3)(a). As was true with the statutes previously discussed, the reference to
14   “[t]he attorney general” means the Colorado attorney general, not foreign attorneys
15   general. Plaintiff contends that Cherokee Nation law authorizes the Cherokee Nation
16   Attorney General to bring an action under Colorado law and the right of the Colorado
17   attorney general should be extended to the Nation’s Attorney General. (Opp’n 35.) It is
18   not enough that Cherokee Nation law authorizes the Nation’s Attorney General to bring an
19   action under Colorado law; Colorado law must also authorize such a suit. The plain
20   language of the statute does not authorize such an action. The Court finds Plaintiff cannot
21   bring a parens patriae action under Colorado antitrust law.
22         Plaintiff’s fifteenth cause of action is for unjust enrichment under Colorado law.
23   (FAC ¶¶ 353–57.) Unjust enrichment is a judicially-created remedy under Colorado law.
24   Lewis v. Lewis, 189 P.3d 1134, 1141 (Colo. 2008), as modified on denial of reh’g (Aug.
25   18, 2008) (citing Salzman v. Bachrach, 996 P.2d 1263, 1265 (Colo. 2000)). Thus, the
26   Court finds Plaintiff has not alleged sufficient facts for parens patriae standing, see supra
27   section I.C.3.
28   ///

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 1         5. New Mexico
 2         Plaintiff’s seventh cause of action is for violation of section 57-1-1 of the New
 3   Mexico Antitrust Act. (FAC ¶ 289.) The Act states “[t]he attorney general may bring an
 4   action in the name of the state against any person.” N.M. Stat. Ann. § 57-1-8. Like the
 5   statutes previously discussed, the reference to “[t]he attorney general” means the New
 6   Mexico attorney general, not foreign attorneys general. Plaintiff also argues that it can
 7   bring a claim on behalf of persons threatened with injury under the New Mexico Antitrust
 8   Act. (Opp’n 37 (citing N.M. Stat. Ann. § 57-1-3(A)).) Further, section 57-1-1.2 includes
 9   “any governmental or other legal entity with the exception of the state” within its definition
10   of a person. Plaintiff contends that it is a governmental or other legal entity and thus the
11   statute can encompass the Nation’s Attorney General. (Id. at 37–38.)
12         This is a novel argument based on the unique language in the New Mexico statute;
13   indeed, no other statute examined in this order mentions any governmental entity.
14   However, a critical distinction should not be overlooked. The Nation’s Attorney General,
15   who would qualify as the “governmental entity,” is not the party who was injured. It is his
16   fellow Cherokee citizens who are injured and are the “persons” as defined by the Act.
17   Those persons have a cause of action under section 57-1-3; the New Mexico attorney
18   general has a cause of action under section 57-1-8. No provision or authority demonstrates
19   that a foreign attorney general may use either cause of action. Accordingly, the Court finds
20   Plaintiff cannot bring a parens patriae action under the New Mexico Antitrust Act.
21         Plaintiff’s sixteenth cause of action is for unjust enrichment under New Mexico law.
22   (FAC ¶¶ 358–62.) Under New Mexico law, unjust enrichment is a form of restitution
23   cutting across contract and tort law. See Hydro Conduit Corp. v. Kemble, 110 N.M. 173,
24   178 (1990). Thus, the Court finds Plaintiff has not alleged sufficient facts for parens
25   patriae standing, see supra section I.C.3.
26         6. Oklahoma
27         Plaintiff’s ninth cause of action is for violation of the Oklahoma Consumer
28   Protection Act. (FAC ¶ 302.) In its Opposition brief, Plaintiff states that it agrees to

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 1   withdraw its ninth cause of action. (Opp’n 35.) Even if the Court were to consider, the
 2   Consumer Protection Act, it states “[t]he attorney general or a district attorney may bring
 3   an action.” Okla. Stat. Ann. tit. 15, § 756.1(A). As with the statutes previously discussed,
 4   the reference to “[t]he attorney general” means the Oklahoma attorney general, not foreign
 5   attorneys general. The Court finds Plaintiff cannot bring a parens patriae action under the
 6   Oklahoma Consumer Protection Act.
 7         Plaintiff’s eighteenth cause of action is for unjust enrichment under Oklahoma law.
 8   (FAC ¶¶ 368–73.) Oklahoma treats unjust enrichment as an equitable remedy, not based
 9   in statute. See French Energy, Inc. v. Alexander, 818 P.2d 1234, 1237 (Ok. 1991). For
10   reasons discussed above, the Court finds Plaintiff has not alleged sufficient facts for parens
11   patriae standing, see supra section I.C.3.
12         7. Florida
13         Plaintiff’s tenth cause of action is for violation of the Florida Deceptive and Unfair
14   Trade Practices Act. (FAC ¶ 314.) Unlike other states, Florida’s Deceptive and Unfair
15   Trade Practices Act does not empower the state attorney general; instead, the Act
16   authorizes “[t]he enforcing authority” to bring various remedies. See Fla. Stat. Ann.
17   § 501.207(1). The Act defines “enforcing authority” as either the office of the state
18   attorney or the Department of Legal Affairs depending on the type of violation.
19   § 501.203(2). Neither of these entities is a government entity outside Florida and the law
20   does not reference language indicative of a parens patriae action.
21         Plaintiff argues, however, that it is availing itself of the section of the Act whereby
22   “anyone aggrieved by a violation of this part may bring an action.” (Opp’n 33 (quoting
23   Fla. Stat. Ann. § 501.211(1), (2)).) The Nation’s Attorney General is not a person who was
24   aggrieved; the individual and private citizens of the Nation, residing in Florida, are the
25   aggrieved persons. As is the theme throughout these state law claims, Plaintiff conflates a
26   public action—parens patriae—with the private causes of action created under state law.
27   Accordingly, the Court finds Plaintiff cannot bring a parens patriae action under Florida’s
28   unfair trade practices law.

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 1         Plaintiff’s seventeenth cause of action is for unjust enrichment under Florida law.
 2   (FAC ¶¶ 363–67.) As with other states, Florida treats unjust enrichment as an equitable
 3   remedy. See Henry M. Butler, Inc. v. Trizec Props., Inc., 524 So. 2d 710, 711–12 (Fla. Ct.
 4   App. 1988).     Thus, the Court finds Plaintiff has not alleged sufficient facts for parens
 5   patriae standing, see supra section I.C.3.
 6         F. Standing Conclusion
 7         In sum, injunctive relief under federal antitrust law requires a quasi-sovereign
 8   interest and an interest apart from the interests of particular private parties. Plaintiff does
 9   not meet this requirement and has no standing under federal law. With respect to Plaintiff’s
10   state statutory causes of action, no State explicitly authorizes an out-of-state attorney
11   general to bring an action in a federal court pursuant to out-of-state law. This same
12   observation was made by the court in Infineon and Judge Hamilton’s reasoning is worth
13   noting:
14                 Not a single source relied on by plaintiffs expressly provides or
                   even implies that a representative action by an Attorney General
15
                   may be brought pursuant to another state’s laws, . . . . [E]ven the
16                 most expansive of the general empowerment statutes relied on
                   by plaintiffs, while recognizing the Attorney General’s ability to
17
                   bring actions in out-of-state courts, stops short of actually
18                 authorizing the Attorney General to bring actions in out-of-state
                   jurisdictions pursuant to out-of-state laws.
19
20   531 F. Supp. 2d at 1139. The same reasoning applies here. Plaintiff’s Attorney General
21   does not have parens patriae standing to bring claims based on the laws of other states.
22   Simply because citizens of the Cherokee Nation live in other states, the Nation’s Attorney
23   General cannot borrow other sovereign State’s laws. The Court GRANTS IN PART
24   Defendants’ Motion and DISMISSES WITH PREJUDICE Plaintiff’s claims to the
25   extent Plaintiff seeks to bring a parens patriae claim under other State’s statutory law. The
26   Court DISMISSES WITHOUT PREJUDICE Plaintiff’s unjust enrichment claims
27   because Plaintiff has not demonstrated prudential standing, but perhaps could amend its
28   complaint to meet the standing requirements.

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 1   II.   Supplemental Jurisdiction
 2         The only remaining claims are Plaintiff’s eighth and eleventh causes of action for a
 3   violation of the Cherokee Nation’s Unfair and Deceptive Practices Act, 12 CNCA § 21 et
 4   seq. and its nineteenth cause of action for unjust enrichment under Cherokee Nation law.
 5   (See FAC ¶¶ 296, 328, 375.) Neither cause of action arises under federal law. Further,
 6   Plaintiff has confirmed that it is not bringing a class action and it has not argued this Court’s
 7   diversity jurisdiction applies.    (Opp’n 15 n.4.)       Thus, the only remaining basis for
 8   jurisdiction is under the Court’s supplemental jurisdiction, 28 U.S.C. § 1367.
 9         Defendants contend that the Court should decline to exercise supplemental
10   jurisdiction over Plaintiff’s pendent claims. (MTD 13.) They cite cases where other courts
11   have declined to exercise supplemental jurisdiction in similar factual situations. (Id.
12   (citing, e.g., Bass v. Cnty. of San Diego, No. 08-cv-2135-MMA (NLS), 2009 WL
13   10671992, at * 5 (S.D. Cal. Aug. 25, 2009)); Reply 3 n.2 (citing, e.g., Empagran, S.A. v.
14   F. Hoffman-La Roche Ltd., 453 F. Supp. 2d 1, 9, 13 (D.D.C. 2006)).)
15         Plaintiff argues that Court should retain supplemental jurisdiction even if it
16   dismisses Plaintiff’s Sherman Act claims. (Opp’n 15.) Plaintiff argues that the pendency
17   of this case, the Court’s familiarity with the issues, the overlap between Plaintiff’s federal
18   and non-federal claims, and judicial economy all weigh in favor of retaining pendent
19   jurisdiction over Plaintiff’s non-federal claims. (See id. at 16.) According to Plaintiff, if
20   the Court were to dismiss its non-federal claims, then such a dismissal would lead to a
21   duplicative action in state court. (See id. at 16–17.)
22         28 U.S.C. § 1367 allows a federal district court to hear all state law claims as long
23   as there is an independent basis for jurisdiction. Under section 1367, a district court “shall
24   have supplemental jurisdiction over all other claims that are so related to claims in the
25   action within such original jurisdiction that they form part of the same case or controversy
26   under Article III of the United States Constitution.” § 1367(a). The Supreme Court has
27   held that supplemental jurisdiction “may be exercised when federal and state claims have
28   a ‘common nucleus of operative fact’ and would ‘ordinarily be expected to [be tried] all in

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 1   one judicial proceeding.’” Osborn v. Haley, 549 U.S. 225, 245 (2007) (alteration in
 2   original) (quoting United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966)).
 3   However, a Court may decline to exercise supplemental jurisdiction over any state claim
 4   if (1) “the claim raises a novel or complex issue of State law,” (2) “the claim substantially
 5   predominates over the claim or claims over which the district court has original
 6   jurisdiction,” (3) “the district court has dismissed all claims over which it has original
 7   jurisdiction,” or (4) “in exceptional circumstances, there are other compelling reasons for
 8   declining jurisdiction.” 28 U.S.C. § 1367(c)(1)–(4).
 9          “In Gibbs, the [Supreme] Court stated that “if federal claims are dismissed before
10   trial . . . the state claims should be dismissed as well.” Carnegie-Mellon Univ. v. Cohill,
11   484 U.S. 343, 350 n.7 (1988) (second alteration in original) (quoting Gibbs, 383 U.S. at
12   726). In Carnegie-Mellon, the Court clarified that this was not a mandatory rule, but rather
13   “simply recognizes that in the usual case in which all federal-law claims are eliminated
14   before trial, the balance of factors to be considered under the pendent jurisdiction
15   doctrine—judicial economy, convenience, fairness, and comity—will point toward
16   declining to exercise jurisdiction over the remaining state law claims.” Id. This is the most
17   logical approach here for three reasons. First, the federal claims have been dismissed for
18   lack of standing and, thus, Gibbs’ general proposition applies. Second, Plaintiff’s antitrust
19   claim has been dismissed without prejudice and the Court will grant leave to amend. Third,
20   there does not appear to be any reason why individual citizens of the Cherokee Nation
21   could not join in the putative class actions, if a class is certified and, if they are not certified,
22   could bring individual claims.
23          In light of the foregoing, the Court DECLINES to exercise its discretion to retain
24   jurisdiction over the supplemental claims and DISMISSES WITHOUT PREJUDICE
25   Plaintiff’s eighth, eleventh, and nineteenth causes of action.
26   III.   Leave to Amend
27          Pursuant to Federal Rule of Civil Procedure 15(a), a plaintiff may amend its
28   complaint once as a matter of course within specified time limits. Fed. R. Civ. P. 15(a)(1).

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 1   “In all other cases, a party may amend its pleading only with the opposing party’s written
 2   consent or the court’s leave. The court should freely give leave when justice so requires.”
 3   Fed. R. Civ. P. 15 (a)(2).
 4         While courts exercise broad discretion in deciding whether to allow amendment,
 5   they have generally adopted a liberal policy. See United States ex rel. Ehmcke Sheet Metal
 6   Works v. Wausau Ins. Cos., 755 F. Supp. 906, 908 (E.D. Cal. 1991) (citing Jordan v. Cnty.
 7   of Los Angeles, 669 F.2d 1311, 1324 (9th Cir.), rev’d on other grounds, 459 U.S. 810
 8   (1982)). Accordingly, leave is generally granted unless the court harbors concerns “such
 9   as undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to
10   cure deficiencies by amendments previously allowed, undue prejudice to the opposing
11   party by virtue of allowance of the amendment, futility of amendment, etc.” Foman v.
12   Davis, 371 U.S. 178, 182 (1962). “Amendments seeking to add claims are to be granted
13   more freely than amendments adding parties.” Union Pac. R.R. Co. v. Nev. Power Co.,
14   950 F.2d 1429, 1432 (9th Cir. 1991) (citing Martell v. Trilogy Ltd., 872 F.2d 322, 324 (9th
15   Cir. 1989)). Additionally, “the party opposing amendment has the burden of showing that
16   amendment is not warranted.” Wizards of the Coast LLC v. Cryptozoic Entm’t LLC, 309
17   F.R.D. 645, 649–50 (W.D. Wash. 2015) (citing, e.g., DCD Programs, Ltd. v. Leighton, 833
18   F.2d 183, 187 (9th Cir. 1987)).
19         Here, the Court GRANTS Plaintiff leave to amend its federal antitrust causes of
20   action and its state unjust enrichment causes of action. However, the Court finds that
21   Plaintiff cannot amend its complaint with regard to state statutory causes of action—
22   Plaintiff’s attorney general does not have authority under foreign state law to assert a
23   parens patriae cause of action. This is a legal issue that cannot be cured by additional
24   factual allegations. The only remaining question is whether the Court should permit
25   amendment to Plaintiff’s claims based on Cherokee Nation law.
26        Generally “a proposed amendment is futile only if no set of facts can be proved under
27   the amendment to the pleadings that would constitute a valid and sufficient claim or
28   defense.” Miller v. Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988). Courts

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 1   ordinarily do not consider the validity of a proposed amended pleading in deciding whether
 2   to grant leave to amend, and instead defer consideration of challenges to the merits of a
 3   proposed amendment until after leave to amend is granted and the amended pleadings are
 4   filed. Netbula, LLC v. Distinct Corp., 212 F.R.D. 534, 539 (N.D. Cal. 2003) (citation
 5   omitted); accord Green Valley Corp. v. Caldo Oil Co., No. 09cv4028-LHK, 2011 WL
 6   1465883, at *6 (N.D. Cal. Apr. 18, 2011) (noting “the general preference against denying
 7   a motion for leave to amend based on futility”). Arguments concerning the sufficiency of
 8   the proposed pleadings, even if meritorious, are better left for briefing on a motion to
 9   dismiss. Lillis v. Apria Healthcare, No. 12cv52-IEG (KSC), 2012 WL 4760908, at * 1
10   (S.D. Cal. Oct. 5, 2012).
11        Here, the Court acknowledges that Defendants raise challenges to the retroactivity and
12   legislative jurisdiction of Cherokee Nation law. At this stage, it is not clear that the
13   Cherokee Nation Code causes of action are futile such that no set of facts could constitute
14   a valid cause of action. Because the Court will allow amendment of the Cherokee Nation’s
15   complaint, the factual allegations regarding the Cherokee Nation Code may shift and is
16   better suited to a briefing on a future motion to dismiss. Accordingly, the Court GRANTS
17   leave to amend the Cherokee Nation causes of action.
18                                         CONCLUSION
19         In light of the foregoing, the Court GRANTS Defendants’ Motion, (ECF No. 983),
20   and DISMISSES WITHOUT PREJUDICE Plaintiff’s First Amended Complaint, except
21   to the extent that Plaintiff seeks to bring parens patriae claims under state law, such claims
22   are DISMISSED WITH PREJUDICE. The Court GRANTS LEAVE TO AMEND
23   Plaintiff’s Complaint; Plaintiff MAY FILE an amended Complaint within thirty (30) days
24   of the date on which this Order is electronically docketed.
25         IT IS SO ORDERED.
26   Dated: September 5, 2018
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